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          IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF FLORIDA
                  TALLAHASSEE DIVISION


ANDREW H. WARREN,

                   Plaintiff,                       Civil Action No.
v.
RON DESANTIS, individually and in his official
capacity as Governor of the State of Florida,

               Defendant.
________________________________________

 P L A I N T I F F ’ S M O T I O N F O R P R E L I MI N A R Y I N J U NC T I O N
      For the reasons set forth in this Motion and the attached memorandum,
Plaintiff Andrew H. Warren moves the Court pursuant to Rule 65 of the Federal
Rules of Civil Procedure and Local Rule 7.1 for a preliminary injunction (1) ordering
Defendant Governor Ron DeSantis to rescind his Executive Order Number 22-176
suspending Warren from his duly elected office as State Attorney for the 13th

Judicial Circuit, (2) ordering DeSantis to reinstate Warren as State Attorney for the
13th Judicial Circuit, and (3) enjoining DeSantis from issuing any further order or
taking any other action against Warren in retaliation for Warren’s constitutionally

protected speech or in excess of the powers granted DeSantis under the Florida
Constitution.
      This Motion is supported by the attached memorandum of points and

authorities; the verified Complaint in this action, along with Exhibits 1 through 4 to
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the Complaint; the Declaration of David Singer and Exhibits 1 through 14 thereto,
which are being filed contemporaneously with this Motion; and the Declaration of

Andrew Warren, which is also being filed contemporaneously with this Motion.
                               O R A L A R G U ME N T
         Pursuant to Local Rule 7.1(K ), Plaintiff requests oral argument, estimating
that 90 minutes is required.




 Dated: August 17, 2022                   By: /s/ David B. Singer
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